                     Case 3:20-cv-00156-IM         Document 1   Filed 01/28/20    Page 1 of 4




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 8                               IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF OREGON
 9                                        PORTLAND DIVISION
10    BOARD OF TRUSTEES OF THE WESTERN
      STATES OFFICE AND PROFESSIONAL
11    EMPLOYEES PENSION FUND,                               Case No.
12                                    Plaintiff,
                                                                         COMPLAINT TO VACATE
13                              vs.                                    ARBITRATOR’S AWARD ON
                                                                        WITHDRAWAL LIABILITY
14    INTERNATIONAL BROTHERHOOD OF
      ELECTRICAL WORKERS LOCAL 483,                               (Pursuant to 29 U.S.C. § 1001 et seq.)
15
                                      Defendant.
16

17              Plaintiff The Board of Trustees of the Western States Office and Professional Employees
18    Pension Fund (the “Pension Fund”) files this action against Defendant International Brotherhood
19    of Electrical Workers Local 483 (the “Employer”) to vacate the Arbitrator’s Final Award dated
20    January 6, 2020 (“Award”), attached as Exhibit A, and alleges as follows:
21              1.      On August 23, 2018, the Pension Fund sent the Employer a Notice of Withdrawal
22    Liability Assessment. The Employer admitted that it owed withdrawal liability, commenced
23    timely payments in the amount stated in the assessment, but contended that the Pension Fund
24    calculated the withdrawal liability payments under the assessment in error and initiated a timely
25    demand for arbitration. On January 6, 2020, the Arbitrator issued his Award, directing the
26    Pension Fund to recalculate the Employer’s withdrawal liability payments. The Pension Fund


     Page 1 –   COMPLAINT TO VACATE ARBITRATOR’S AWARD                             KILMER VOORHEES & LAURICK, P.C.
                ON WITHDRAWAL LIABILITY                                                  A PROFESSIONAL CORPORATION
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                     Case 3:20-cv-00156-IM      Document 1       Filed 01/28/20     Page 2 of 4




 1    contends that the Arbitrator erred in applying the law governing the computation of the

 2    Employer’s withdrawal liability payments and files this action to vacate the Award.

 3                                               JURISDICTION

 4              2.      This Court has jurisdiction pursuant to 29 U.S.C. § 1401(b)(2), § 1451(a)(1)

 5    and § 1451(c) because this is a civil action by plan fiduciaries for appropriate legal relief and,

 6    more specifically, an action for an Order vacating an award in Arbitration under the

 7    Multiemployer Pension Plan Amendment Act (“MPPAA”), a section of the Employee

 8    Retirement Income Security Act (“ERISA”).

 9                                                   VENUE

10              3.      Venue is proper in this Court pursuant to 29 U.S.C. § 1451(d) because the plan is

11    administered in Portland, Oregon.

12                                         ALLEGATIONS OF FACT

13              4.      The Pension Fund is a multiemployer pension fund maintained and administered

14    to provide retirement benefits to qualified labor employees. The Pension Fund is established and

15    maintained pursuant to ERISA.

16              5.      Effective January 1, 2008, the Employer entered into a collective bargaining

17    agreement (“CBA”) with the Office and Professional Employees International Union Local 23

18    (the “Union”).

19              6.      The CBA obligated the Employer to make contributions to the Pension Fund at a

20    specified rate for each compensable hour worked by the Employer’s employees.

21              7.      In 2009, the Pension Plan notified all participating employers, including the

22    Employer here, that the Pension Fund was in critical status, that each participating employer was

23    obligated to pay a statutory surcharge under the Pension Protection Act of 2006 (the “PPA”), and

24    that the Pension Fund had adopted a rehabilitation plan.

25

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     Page 2 –   COMPLAINT TO VACATE ARBITRATOR’S AWARD                                KILMER VOORHEES & LAURICK, P.C.
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                     Case 3:20-cv-00156-IM       Document 1       Filed 01/28/20     Page 3 of 4




 1              8.      The Pension Plan fell into critical status in 2009 and adopted a rehabilitation plan.

 2    The Employer did not agree to the contribution schedule in the rehabilitation plan and, instead,

 3    continued to pay the surcharge.

 4              9.      The Employer withdrew from the Pension Fund in 2016.

 5              10.     The Pension Fund served the Employer with the Notice of Assessment of

 6    Withdrawal Liability and included the schedule of payments required under ERISA, and those

 7    payments were calculated using the highest contribution rate at which the Employer had an

 8    obligation to contribute under the plan pursuant to 29 U.S.C. § 1399(c)(1)(C)(i).

 9              11.     The Employer elected to enter into collective bargaining agreements with its

10    employees Union in and after 2010.

11              12.     In those collective bargaining agreements, the Employer agreed to make

12    supplemental contributions in order to contribute at a rate consistent with those published by the

13    Pension Fund in furtherance of the rehabilitation plan.

14              13.     In 2014 Congress passed the Multiemployer Pension Reform Act, which

15    provided, in pertinent part, that supplemental contribution rates for plan years beginning after

16    December 31, 2014 were excluded from the highest contribution rate for the purpose of

17    computing withdrawal liability payments under 29 U.S.C. § 1399(c)(1)(C)(i).

18              14.     The Fund computed the Employer’s withdrawal liability payment based on the

19    contribution rate agreed to in the collective bargaining agreement between the Employer and its

20    employees’ Union for the 2013 plan year.

21              15.     The Arbitrator concluded, in error, that the Fund erred in including the pre-MPRA

22    supplemental contributions in computing the Employer’s withdrawal liability payment.

23              16.     The Arbitrator’s Award is unprecedented. No court and no arbitrator has held that

24    a pre-MPRA supplemental contribution can be excluded from the computation of an employer’s

25    withdrawal liability payment. Exhibits B and C, attached to this Complaint, are Arbitration

26    Awards issued after the Award under review here in January 2020. The Arbitrator decided the


     Page 3 –   COMPLAINT TO VACATE ARBITRATOR’S AWARD                                 KILMER VOORHEES & LAURICK, P.C.
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                  Case 3:20-cv-00156-IM        Document 1            Filed 01/28/20            Page 4 of 4




 1    same legal question raised by the Employer here and the Arbitrator in each issued awards that

 2    directly contradict, and expressly disagree with, the Arbitrator’s Award in this matter.

 3                                          CLAIM FOR RELIEF

 4              17.    The Arbitrator erred in construing ERISA § 4219(c)(1)(C)(i), 29 U.S.C.

 5    § 1399(c)(1)(C)(i), to conclude that that the pre-MPRA supplemental contributions could not be

 6    included in the computation of the statutory withdrawal liability payments as a matter of law.

 7              18.    The Court reviews the Arbitrator’s conclusions of law in a proceeding under

 8    29 U.S.C. § 1401(b)(2) under the de novo standard of review. Trustees of Amalgamated Ins.

 9    Fund v. Geltman Indus., Inc., 784 F.2d 926, 928–29 (9th Cir. 1986).

10              19.    The Pension Fund is entitled to judgment vacating the Arbitrator’s Award.

11                                                   PRAYER

12              WHEREFORE, the Pension Fund respectfully requests that this Court vacate the

13    Arbitrator’s January 6, 2020 Award, followed by a determination on the Pension Fund’s petition

14    for attorney fees to be submitted following a decision on the merits.

15              DATED this 28th day of January, 2020.

16                                           KILMER VOORHEES & LAURICK, P.C.
17
                                                    /s/ Robert B. Miller
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     Page 4 –   COMPLAINT TO VACATE ARBITRATOR’S AWARD                                            KILMER VOORHEES & LAURICK, P.C.
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